                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                              3:20-CV-00504-FDW-DSC

CPI SECURITY SYSTEMS, INC.

                                        Plaintiff,

                       v.
                                                                   BRIEF IN SUPPORT
VIVINT SMART HOME, INC.                                            OF DEFENDANTS’
f/k/a MOSAIC ACQUISITION CORP.;                                    MOTION IN LIMINE
LEGACY VIVINT SMART HOME, INC.
f/k/a VIVINT SMART HOME, INC.

                                     Defendants.



                                       INTRODUCTION

       The only reliable evidence of what occurred in interactions between CPI customers and

Vivint representatives is sworn testimony, subject to cross-examination, of persons with firsthand

knowledge. Therefore, the following inadmissible evidence should be excluded at trial:

       (1)     customer complaints to the parties in the form of audio recordings and customer

               account notes;

       (2)     lawsuits filed by Vivint against its competitors;

       (3)     other lawsuits or proceedings against Vivint;

       (4)     customer complaints to third parties;

       (5)     evidence about damages for which CPI never disclosed amounts or computations;

               and

       (6)     damages estimates or arguments based on inadmissible evidence and “tip of the

               iceberg” arguments.




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                                          ARGUMENT

       As CPI alleges in the amended complaint, “this case is about Vivint’s . . . sales practices

on the doorsteps and in the homes of significant numbers of CPI customers across the Southeast.”

Am. Compl. (Doc. 29) ¶ 1. And to that point, none of the five counts asserted in the amended

complaint relieve CPI of its traditional burden to prove liability, causation, and damages with

respect to each incident of misconduct alleged against Vivint. But based on the allegations of the

amended complaint and arguments made in open court, CPI intends to offer inadmissible evidence

to invite the jury to speculate as to otherwise unproven customer interactions and alleged damages.

       The inadmissible evidence will take the form of prior proceedings, hearsay evidence of

customer complaints, prior alleged conduct intended to suggest conduct in conformity therewith,

and similar unreliable evidence to create the impression that Vivint’s alleged misconduct is merely

the “tip of the iceberg.” This “tip of the iceberg” argument is plainly improper. And the evidence

CPI proposes to offer to invite this rank speculation is also improper.

       In an effort to provide the Court with the most efficient means of ruling on these evidentiary

issues, the chart below identifies the improper evidence expected to be offered and explains the

reasons for its exclusion.




                                    2
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    EVIDENCE              REASONS FOR EXCLUSION

    Customer              Hearsay under Rule 801(c). These documents report what CPI
    complaints (audio     customers allegedly said to CPI or Vivint representatives (first layer of
    recordings and        hearsay) about interactions with Vivint salespersons (second layer). 1
    summary notes)        Many contain additional layers of hearsay (Exs. 1–2).

    Examples:             The evidence is hearsay to which no exception applies. The business-
                          records exception is inapplicable because the declarant of the
    Exhibits 1–9.         information (the customer) was not acting in the ordinary course of
                          business, 2 and (2) the records lack trustworthiness because the customer
                          statements are not of facts kept in the course of a regularly conducted
                          business practice. The statements are also tainted by coaching (Exs. 2–
                          6), faulty memories (Ex. 7), and incentives to misrepresent details of
                          the interactions (Ex. 8–9). 3

                          The residual exception is inapplicable because the evidence is
                          untrustworthy and more probative evidence is readily available by
                          sworn testimony subject to cross-examination. 4




1
       ADT LLC v. Alarm Prot. LLC, No. 9:15-cv-80073, 2017 WL 1881957, at *1–2 n.2 (S.D.
Fla. May 9, 2017) (citing ADT, LLC v. Sec. Networks, LLC, No. 12-CIV-81120 (S.D. Fla. Dec. 9,
2016)); ADT LLC v. Vivint, Inc., No. 17-cv-80432, 2017 WL 11632866 (S.D. Fla. Dec. 8, 2017).
2
       Rowland v. Am. Gen. Fin., Inc., 340 F.3d 187, 194–95 (4th Cir. 2003); United States v.
Baker, 693 F.2d 183, 188 (D.C. Cir. 1982); Williams v. Remington Arms Co., No. 3:05-cv-1383,
2008 WL 222496, at *9–10 (N.D. Tex. Jan. 28, 2008).
3
        United States v. Pendergrass, 1995 WL 56673, at *5 (4th Cir. 1995) (unpublished)
(unreliable evidence inadmissible); Hoffman v. Palmer, 129 F.2d 976, 991 (2d Cir. 1942)
(statements motivated by incentives inherently unreliable); Fed. Trade Comm’n v. E.M.A.
Nationwide, Inc., No. 1:12-cv-2394, 2013 WL 4545143, at *2 (N.D. Ohio Aug. 27, 2013) (same);
W. Insulation, LP v. Moore, 242 F. App’x 112, 122 (4th Cir. 2007) (unpublished) (same).
4
          United States v. Gomez, 774 F. App’x 136, 137 (4th Cir. 2019) (unpublished).



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    EVIDENCE                     REASONS FOR EXCLUSION

    Lawsuits filed by Vivint     Hearsay under Rule 801(c). Allegations in other lawsuits filed
    against its competitors      by or against a party are hearsay when offered for the truth of the
                                 matter asserted. 5
    Examples:
                                 Irrelevant under Rule 402. The facts and outcomes of other
    Doc. 81-1 at 15–22, 32–55.   lawsuits involving different parties and conduct are irrelevant in
                                 deciding the merits of this case. 6

                                 [continued on next page]




5
       United States v. May, 87 F. App’x 867, 868 (4th Cir. 2004) (unpublished); Roberts v.
Harnischfeger Corp., 901 F.2d 42, 44–45 (5th Cir. 1989); Sutphin v. Ethicon, Inc., No. 2:14-cv-
01379, 2020 WL 5079170, at *9 (S.D. W. Va. Aug. 27, 2020); Amegy Bank Nat’l Ass’n v. DB
Private Wealth Mortg., Ltd., No. 2:12-cv-243, 2014 WL 791505, at *2 (M.D. Fla. Feb. 24, 2014);
Tyree v. Boston Sci. Corp., No. 2:12-cv-8633, 2014 WL 5445769, at *7–8 (S.D. W. Va. Oct. 22,
2014); Landis v. Jarden Corp., 5 F. Supp. 3d 808, 814–15 (N.D. W. Va. 2014).
6
        United States v. Hill, 322 F.3d 301, 306 (4th Cir. 2003) (affirming exclusion of other
lawsuit that “would have necessitated an exhaustive case within a case that would have confused
the jury as to the issues to be decided”); Merrick v. Mercantile-Safe Deposit & Tr. Co., 855 F.2d
1095, 1104 (4th Cir. 1988) (same); Gillis v. Murphy-Brown, LLC, No. 7:14-cv-185, 2018 WL
5831994, at *1–3 (E.D.N.C. Nov. 7, 2018) (same); Miller ex rel. Miller v. Ford Motor Co., No.
2:01-cv-545, 2004 WL 4054843, at *12–13 (M.D. Fla. July 22, 2004) (same); Arlio v. Lively, 474
F.3d 46, 53 (2d Cir. 2007) (“[C]ourts are reluctant to cloud the issues in the case at trial by
admitting evidence relating to previous litigation involving one or both of the same parties”).



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    EVIDENCE             REASONS FOR EXCLUSION

    Lawsuits filed by    [continued from previous page]
    Vivint against its
    competitors          Prior acts evidence barred by Rule 404(b). The facts, outcomes, and
                         arguments litigated in unrelated cases cannot be used to show conduct in
                         conformity therewith. 7 Nor can CPI use the issue of “notice” to
                         “bootstrap in” this evidence. 8

                         Fails a Rule 403 analysis. Prior litigation evidence is not probative and
                         would unfairly prejudice Vivint by creating the false impression that
                         Vivint should need to justify positions it took in prior litigation. The risk
                         is that the jury will punish Vivint for conduct for which it is not on trial. 9
                         It would also inappropriately create the need “to conduct a mini trial on
                         the [other] matter.” 10




7
         Eng v. Scully, 146 F.R.D. 74, 79 (S.D.N.Y. 1993) (excluding evidence as irrelevant under
Rules 401 and 402 and inadmissible under Rule 404(b)); see also, e.g., Owens, II v. Garcia, No.
17-cvs-1776, 2020 WL 3892183, at *4 (N.C. Super. March 12, 2020) (excluding defendants’ other
litigation as irrelevant and impermissible character evidence); Lanham v. Whitfield, 805 F.2d 970,
972 (11th Cir. 1986) (upholding exclusion of other litigation under Rule 404(b) because the danger
of confusing issues, misleading jury, and substantial prejudice outweighed probative value);
Outley v. City of New York, 837 F.2d 587, 592–93 (2nd Cir. 1988) (excluding prior litigation under
Rule 404(b) because “[l]itigiousness is the sort of character trait with which Rule 404(b) is
concerned,” and other lawsuits “would undoubtedly cause the jury to question the validity of [the
parties’] current claims”).
8
          Gillis, 2018 WL 5831994, at *2.
9
       Grant Thornton, LLP v. Fed. Dep. Ins. Corp., No. 1:00-cv-655, 2007 WL 518421, at *1
(S.D. W. Va. Feb. 13, 2007); Gillis, 2018 WL 5831994, at *2; Hill, 322 F.3d at 306; Tyree, 2014
WL 5445769, at *8.
10
         United States v. Lindberg, 476 F. Supp. 3d 240, 269 (W.D.N.C. 2020) (excluding other
litigation to avoid having “to conduct a mini trial on the [other] matter”); see also Gillis, 2018 WL
5831994, at *2–3 (“[Defendant] would have to be given an opportunity to respond to the
allegations” regarding other litigation which would “substantially broaden this litigation resulting
in the undue consumption of time on a completely collateral matter”).



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 EVIDENCE             REASONS FOR EXCLUSION

 Other lawsuits       Irrelevant under Rule 402. This evidence is irrelevant because
 and proceedings      proceedings between different parties under different circumstances in
 against Vivint       different jurisdictions lack sufficient probative value.

 Examples:            Prior-acts evidence barred by Rule 404(b). This evidence is
                      inadmissible for the same reason that Vivint’s lawsuits against
 Doc. 81-1 at         competitors are inadmissible: The facts, outcomes, and arguments
 15–22, 32–55.        litigated in unrelated cases cannot be used to show conduct in conformity
                      therewith. Supra at 5.

                      Hearsay under Rule 801(c). This evidence is hearsay for the same
                      reasons Vivint’s lawsuits against competitors are hearsay. Supra at 4.

                      Fails a Rule 403 analysis. This evidence fails a Rule 403 analysis for the
                      same reasons as Vivint’s lawsuits against competitors. 11 Supra at 5.




11
        See also, e.g., Miller, 2004 WL 4054843, at *9–10 (excluding depositions in prior lawsuit
as hearsay); Sutphin, 2020 WL 5079170, at *9 (excluding “other lawsuits and the factual
allegations therein” under Rule 403); Apex Custom Homes, L.L.C. v. O’Kelley, 671 F. App’x 134,
135 (4th Cir. 2016) (unpublished) (affirming exclusion of regulatory proceeding involving dispute
between plaintiff and unrelated party under Rule 403).



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 EVIDENCE              REASONS FOR EXCLUSION

 Customer              Hearsay under Rule 801(c). Consumer complaints about Vivint to the
 complaints to         Better Business Bureau, state attorneys general, or other regulatory
 third parties         agencies is hearsay for the same reasons that customer complaints to the
                       parties constitute hearsay. 12 Supra at 3.
 Examples:
                       Fails a Rule 403 analysis. These complaints: (1) were made out-of-court
 Doc. 81-7 at 5–8.     without the right to cross-examine; (2) are inherently unreliable, after-
                       the-fact statements by consumers motivated to misreport the facts and
                       coached by CPI to lodge complaints (Exs. 3, 5–6); (3) create a substantial
                       risk of misleading the jury, particularly where CPI has minimal actual
                       evidence of its customers being misled; and (4) will prolong trial on
                       extraneous issues. 13




12
       See also Miller, 2004 WL 4054843, at *10 (depositions from prior lawsuit are hearsay).
13
        See, e.g., United States v. Nwaigwe, 225 F.3d 656, 2000 WL 1087254, at *3 (4th Cir. 2000)
(per curiam) (unpublished) (affirming exclusion of BBB materials as hearsay and citing lack of
cross examination); Nipper v. Snipes, 7 F.3d 415, 418 (4th Cir. 1993) (excluding findings of fact
from separate case as hearsay and under Rule 403 where findings were “likely be given undue
weight by the jury”); Whirley v. Kawasaki Motor Corp. USA, No. 1:04-cv-1145, 2007 WL
9706880, at *2 (W.D. Tenn. Nov. 14, 2007) (excluding Consumer Product Safety Commission’s
investigatory reports concerning defective products at issue because “jury may have been
influenced by the official character of the report to afford it greater weight than it was worth”);
Waconda v. United States, No. CIV 06-0101, 2007 WL 2461624, at *6 (D.N.M. May 31, 2007)
(“[E]vidence related to the other case against Dr. Bair would be highly prejudicial and has little
probative value … other than to suggest Dr. Bair has a propensity for negligence.”); Harris v. Miss.
Transp. Comm’n, No. 3:07-cv-366, 2008 WL 5427795, at *2 (S.D. Miss. Dec. 30, 2008)
(excluding EEOC determination letter because it “could invade the province of the jury to
determine from the evidence whether discrimination was proven” and “confuse or mislead the
jury”), aff’d, 329 Fed. Appx. 550 (5th Cir. 2009); Wright & Miller, Confusion of Issues—
Application, 22A Fed. Prac. & Proc. Evid. § 5216.1 (2d ed.) (urging courts to “consider the bulk
of the proffered evidence” under Rule 403 because “the more evidence the proponent offers, the
more potential inferences it will provide the jury to wander along”).



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 EVIDENCE         REASONS FOR EXCLUSION

 Undisclosed  Prohibited under Rule 26(a)(1), Rule 37(c)(1), and CMO ¶ 1(d).
 damages or
 computations Rule 26(a)(1)(A)(iii) requires a plaintiff to disclose “a computation of each
              category of damages” it seeks. This Rule requires not only “specific dollar
 Examples:    amounts” for each category of damages, but also “specific damages
              computations” with “an analysis of the damages sought as to each claim,”
 Exhibits 10– showing “how the relevant facts lead to that dollar figure” in a manner
 13.          “supported by documentary evidence.” 14 The failure to disclose damages
              calculations bars the pursuit of those damages at trial “unless the failure was
              substantially justified or is harmless.” 15 See Fed. R. Civ. P. 37(c)(1); CMO
              (Doc. 35) ¶ 1(d) (providing additional warnings).

                  Despite repeated requests, CPI only disclosed a damages computation for a
                  remedial information campaign. CPI never disclosed a computation—or a
                  dollar amount—for any other category of damages it now seeks: “lost and
                  disrupted customers,” “costs incurred to respond to” alleged deceptive
                  practices, or “disgorgement of Vivint’s profits.” Doc. 81 at 10. 16

                  Accordingly, except for the alleged cost of a remedial information campaign,
                  any evidence or argument from CPI about undisclosed damages or
                  computations would be highly prejudicial to Vivint and should be excluded.




14
       Liberty Ins. Underwriters, Inc. v. Beaufurn, LLC, No. 1:16-cv-1377, 2021 WL 2109479,
at *5 (M.D.N.C. May 25, 2021); Silicon Knights, Inc. v. Epic Games, Inc., No. 5:07-CV-275-D,
2012 WL 1596722, at *1–10 (E.D.N.C. May 7, 2012).
15
       Nelson-Salabes, Inc. v. Morningside Dev., 284 F.3d 505, 512 n.10 (4th Cir. 2002) (damages
not properly disclosed were properly excluded); Silicon Knights, Inc., 2012 WL 1596722, at *9
(same); Beaufurn, LLC, 2021 WL 2109479, at *5 (same).
16
        Doc. 81-6 at 10–13 (Interrog. Nos. 15–17) (requesting “detailed calculation, by cause of
action, all damages” claimed and “valuations” of specific types of damages, including “processes,
methodologies, and calculations that CPI employs to value” such damages); Exhibits 14–15
(Vivint’s letters to CPI demanding damages computations); see also Exhibit 13 at 5 (CPI declining
to disclose and stating it “continues to require[ ] additional discovery and expert assistance to fix
[its damages computations] with greater certainty”).



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 EVIDENCE             REASONS FOR EXCLUSION

 Damages              The Court correctly excluded CPI’s expert, Professor Mangum
 estimates or         CPI sought to use Mangum to quantify its damages through a “tip of the
 arguments based      iceberg” theory. CPI should not be permitted to circumvent the Court’s
 on inadmissible      ruling (Doc. 115) by otherwise presenting Mangum’s theory to the jury.
 evidence and “tip
 of the iceberg”      Hearsay under Rule 801(c). CPI’s “tip of the iceberg” damage theories
 arguments            are premised solely on what CPI claims are hundreds of “other incidents”
                      with non-testifying individuals, and even “unreported” incidents CPI’s
 Examples:            expert believes might have occurred. 17

 Exhibits 10–12.      [continued on next page]




17
      Supra at 3, 5–7; see also California v. Green, 399 U.S. 149, 158 (1970) (describing cross-
examination as “greatest legal engine ever invented for the discovery of truth”).



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 EVIDENCE              REASONS FOR EXCLUSION

 Damages               [continued from previous page]
 estimates or
 arguments based       Fails a Rule 403 analysis. Argument that any alleged misconduct is the
 on inadmissible       “tip of the iceberg” should be excluded because it: (1) lacks probative
 evidence and “tip     value and is contrary to CPI’s obligation to prove each instance of
 of the iceberg”       liability, causation, and damages to a reasonable degree of certainty; 18
 arguments             (2) invites jury speculation in that it is neither (i) based on a reliable
                       expert methodology nor (ii) based on the facts alleged in the pleadings
 Examples:             and proven by admissible evidence; 19 and (3) creates substantial dangers
                       of unfair prejudice to Vivint, confusion of the issues, and misleading the
 Exhibits 10–12.       jury. 20



18
       Olivetti Corp. v. Ames Business Systems, Inc., 319 N.C. 534, 547–48, 356 S.E.2d 578, 586
(1987) (damages must be “based upon a standard that will allow the finder of fact to calculate the
amount of damages with reasonable certainty”); Lord of Shalford v. Shelley’s Jewelry, Inc., 127 F.
Supp. 2d 779, 788 (W.D.N.C. 2000) (same), aff’d, 18 F. App’x 147 (4th Cir. 2001); Earhart v.
Countrywide Bank, FSB, No. 3:08-cv-238-RJC, 2009 WL 500838, at *6–7 (W.D.N.C. Feb. 25,
2009) (damages must be supported by admissible evidence); see also, e.g., Tony Guiffre Distrib.
Co., Inc. v. Washington Metro. Area Transit Auth., 740 F.2d 295, 297 (4th Cir. 1984)
(“[U]ncertain, speculative measure of [the plaintiff’s] damages” properly excluded because
“marginal relevance” substantially outweighed by “likelihood that it would mislead the jury”);
Bullard v. Ross, 205 N.C. 495, 171 S.E. 789 (1933) (speculative and conjectural damages properly
excluded).
19
         Reich v. S. Maryland Hosp., Inc., 43 F.3d 949, 951 (4th Cir. 1995) (extrapolated damages
model properly excluded because of insufficient sample size of actual testimony); Best v. Time
Warner Inc., No. 5:11-CV-00104-RLV-DSC, 2013 WL 66265, at *5 (W.D.N.C. Jan. 4, 2013)
(damages extrapolation too speculative where “Plaintiff relies on this extrapolation not only to
proffer a measure of damages in other years but also to establish the fact of damages in other
years”); Pharmanetics, Inc. v. Aventis Pharm., Inc., No. 5:03-CV-817-FL(2), 2005 WL 6000369,
at *11–12 (E.D.N.C. May 4, 2005) (excluding expert’s extrapolated damages models as
unreliable), aff’d, 182 F. App’x 267 (4th Cir. 2006); Commodity Futures Trading Comm’n v.
Wilshire Inv. Mgmt. Corp., 407 F. Supp. 2d 1304, 1315 (S.D. Fla. 2005) (fraud in nine customer
solicitations did not allow inference that other customers were also victims because there was
“little indication” the fraud was “necessarily a part of each … solicitation”), aff’d in part, vacated
in part, remanded on other grounds, 531 F.3d 1339 (11th Cir. 2008).
20
        Tony Guiffre Distrib. Co., Inc., 740 F.2d at 297 (affirming exclusion of “uncertain,
speculative measure of [the plaintiff’s] damages” because “marginal relevance” substantially
outweighed by danger of confusion); United States v. Rand, No. 3:10-CR-182, 2011 WL 4914962,
at *5 (W.D.N.C. Oct. 17, 2011) (excluding evidence of financial harm with “slight connection” to
allegations because probative value substantially outweighed by danger of confusion).



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                                   CONCLUSION

  For the reasons above, the following inadmissible evidence should be excluded at trial:

  (1)    customer complaints to the parties in the form of audio recordings and customer

         account notes;

  (2)    lawsuits filed by Vivint against its competitors;

  (3)    other lawsuits or proceedings against Vivint;

  (4)    customer complaints to third parties;

  (5)    evidence about damages for which CPI never disclosed amounts or computations;

         and

  (6)    damages estimates or arguments based on inadmissible evidence and “tip of the

         iceberg” arguments.




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      Respectfully submitted the 18th day of January, 2022.

      GREENBERG TRAURIG, LLP                         CLYDE SNOW & SESSIONS, P.C.

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                            CERTIFICATE OF COMPLIANCE

       I certify that the foregoing document complies with the word-limit requirements set forth

in paragraph 3(c)(i) of the Case Management Order (Doc. 35) and the Court’s January 14, 2022

order (Doc. 115).

       This the 18th day of January, 2022.

                                             s/ Andrew H. Erteschik
                                             Andrew H. Erteschik




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                                   CERTIFICATE OF SERVICE

          I certify that I have electronically filed the foregoing document with the Clerk of Court

using the CM/ECF system, which will send notification of filing to all counsel and parties of

record.

          This the 18th day of January, 2022.

                                                s/ Andrew H. Erteschik
                                                Andrew H. Erteschik




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